  Case 98-02675-5-DMW                          Doc 10569 Filed 12/12/07 Entered 12/12/07 11:20:34    Page 1
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Holmes P. Harden, Trustee for IHI
P. O. Box 536
Benson, NC 27504




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INC THE SPARKMAN GROUP
4700 POLO PARKWAY #133
MIDLAND, TX 78705




                                                UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF NORTH CAROLINA
                                                        RALEIGH DIVISION

IN RE:                                                       )      CASE NO.: 98-02675-5-ATS
INTERNATIONAL HERITAGE, INC.,                                )
                                                             )      CHAPTER 7
                                                             )
Debtor.                                                      )

                                                             ORDER

        HOLMES P. HARDEN, Trustee, having objected to the claim of Inc The Sparkman Group designated as

claim no. 012524 in the above-captioned case in the amount of $1,897.75 and having requested denial of claim,

and no response having been filed with the Court in writing after notice;

        IT IS HEREBY ORDERED that the claim of Inc The Sparkman Group, claim no. 012524, is denied.

SO ORDERED

Signed this 12th day of December, 2007.




                                                                 A. Thomas Small
                                                                 United State Bankruptcy Judge




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